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 5                                  IN THE UNITED STATES DISTRICT COURT

 6                                    EASTERN DISTRICT OF CALIFORNIA

 7
     UNITED STATES OF AMERICA,                           CASE NO. 1:12-CR-000418 AWI-BAM
 8
                                    Plaintiff,           ORDER CONTINUING HEARING ON
 9                                                       DEFENDANT’S MOTION TO SUPPRESS
                               v.
10                                                       DATE: July 21, 2014
     ENRIQUE RODRIGUEZ,                                  TIME: 10:00 a.m.
11                                                       COURT: Hon. Anthony W. Ishii
                                    Defendant.
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            The United States of America, by and through BENJAMIN B. WAGNER, United States
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     Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant
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     ENRIQUE RODRIGUEZ, by and through his attorney of record, DAVID A. TORRES, having
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     stipulated to continue the hearing on the defendant’s motion to suppress (originally set for July 21,
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     2014) to the date of August 4, 2014 at 10:00 a.m., and further agreeing that the government’s response
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     to the defendant’s motion shall be filed on or before July 7, 2014, and any reply by the defendant be
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     filed on July 21, 2014;
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            IT IS SO ORDERED.
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            IT IS FURTHER ORDERED that for the purpose of computing time under the Speedy Trial Act,
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     18 U.S.C. § 3161, et seq., within which trial must commence, the time period of July 21, 2014 to August
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     7, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D).
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     IT IS SO ORDERED.
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     Dated: June 26, 2014
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                                                 SENIOR DISTRICT JUDGE
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      ORDER CONTINUING HEARING ON DEFENDANT’S             1
      MOTION TO SUPPRESS
